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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Case No. 06-cr-00217-PSF-01

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. MICHAEL ANTHONY ROMERO,

       Defendant.


       GOVERNMENT’S MOTION FOR DEFENDANT TO RECEIVE THE THIRD
     LEVEL FOR ACCEPTANCE OF RESPONSIBILITY UNDER U.S.S.G. §3E1.1(b)


       COMES NOW, the United States of America, by and through its undesigned

Assistant United States Attorney for the District of Colorado, and hereby moves,

pursuant to the provisions of §3E1.1(b) of the Sentencing Guidelines, and application

note 6 thereto, that this defendant receive a 3-level reduction for acceptance of

responsibility on the grounds that the defendant timely notified the Government of his

decision to enter a guilty plea and fully advised the Government of the nature of his own

misconduct, thereby permitting the Government to avoid preparing for trial and

permitting the Government and this Court to allocate their resources efficiently.
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      Respectfully submitted this 16th day of January, 2007,

                                        TROY A. EID
                                        UNITED STATES ATTORNEY


                                   By: s/James R. Boma
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                               CERTIFICATE OF SERVICE

         I hereby certify that on this 16th day of January, 2007, I electronically filed the
foregoing GOVERNMENT’S MOTION FOR DEFENDANT TO RECEIVE THE THIRD
LEVEL FOR ACCEPTANCE OF RESPONSIBILITY UNDER U.S.S.G. §3E1.1(b) with
the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following e-mail address(es):

Harvey Abe Steinberg
law@springer-and-steinberg.com bcruz@springer-and-steinberg.com

Adam Michael Tucker
atucker@springer-and-steinberg.com

and I hereby certify that I have mailed or served the document or paper to the following
non-CM/ECF participants in the manner indicated:

U.S. Probation Officer Elizabeth Oppenheimer, Denver (via Fax to 303-844-5439)

                                                   s/ James R. Boma
                                                   JAMES R. BOMA
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                                                   U.S. Attorney’s Office
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